
4 U.S. 286 (____)
4 Dall. 286
Crawford et al.
versus
Willing et al.
Supreme Court of United States.

*287 E. Tilghman and Ingersoll, for the plaintiffs.
Lewis, for the defendants.
*289 By the COURT:[(1)]
The auditors have ascertained the principal sum, that is due from the defendants to the plaintiffs; leaving to the Court the question of interest. The only point now to be decided, therefore, is whether any, and what, interest, ought to be paid upon the debt so ascertained?
The inquiry has been naturally, and fairly, pursued, under the considerations suggested at the bar: 1st. Whether, on general principles, it is a case, in which interest can be allowed? 2d. Whether any circumstances, peculiar to the case, in relation to the parties, should prevent the allowance of interest here, in opposition to a general rule? 3d. Whether the effect of the revolutionary war was such, as to suspend the right to interest, for any, and for what, period?
1st. Whatever may have been the doctrine in former times, we have traced, with pleasure, the progress of improvement, upon the subject of interest, to the honest and rational rule, that, wherever one man retains the money of another, against his declared will, the legal compensation, for the use of money, shall be charged and allowed. From the single case of a promissory note, the instances, in which interest is allowed, have been so multiplied, year after year, that few remain to be added to the legal catalogue. In Pennsylvania the policy is older, and still, perhaps, more extensive, than it is in England. There, even at this day, an action must be brought upon a judgment, in order to recover interest upon it; but here, our act of assembly, so early as the year 1715, made the interest an inseparable incident of the judgment. For my own part, I am prepared to say, with the book cited, that interest ought to follow a debt, as the shadow does its substance. Even, in the case of goods sold and delivered, I would think it right to allow interest, as soon as the express, or the implied, term of credit had elapsed, and a demand of payment was made.[(2)]
In the present action, there can be no doubt, that the balance had long been ascertained and acknowledged. In England, it is the practice of merchants to balance their accounts annually; and, by that means, the interest of each year becomes principal, in the new account of the succeeding year. Without adopting that practice, it is clearly our opinion, that the defendants are liable for the interest actually claimed, unless some special reason exempts them from the general obligation of merchants.
*290 2d. The circumstances suggested, to distinguish the responsibility of Mr. Willing, from that of his partner, are not a sufficient legal, or equitable, answer, to the demand of the plaintiffs. In Watson's treatise, on the law of partnership, the cases on this point are collected and arranged. The result of the whole is, that, during the partnership, all the partners are answerable for the acts of each. It is no ground of discrimination in this respect, which partner actually received the funds; which was intrusted to transact the business, or which was ignorant of the state of the debit and credit, of the company books. If, indeed, a public notice is given by one partner, of the dissolution of a partnership; and creditors, unreasonably neglecting it, will place funds in the hands of the other partner, they must take the consequence of their own imprudence. But the present case is free from every embarrassment of this kind. The debt was contracted during the partnership; and all that was written about it, both before, and after, the termination of the partnership, was written by Mr. Morris alone, without any objection, on the part of Mr. Willing; whose conduct, on the contrary, gave reason to presume consent and approbation.
3d. Nor will the effect of the revolutionary war, furnish the defendants with a justification, or excuse, against the claim of interest. We all know the eminent services of Mr. Morris to his country; and the pre-eminent credit of the house of Willing and Morris, throughout the war. But these very advantages show, that the defendants, of all men, had it in their power to remit the funds, for the payment of their debts, due in neutral countries.
This, then, is our general position: the defendants are liable, for the payment of interest, from the time the money was in their hands, demanded and neglected to be paid, until the war; during the war, if remittances could safely be made; and (if they could not be safely made during the war) then from the peace of 1783, until the actual recovery of the principal.
Unless, upon the whole, the jury can discover some ground of excuse, which we have not been able to trace, the interest ought to be allowed, in justice to the plaintiffs: and, we will add, in justice to the commercial character of our country.
The jury found a verdict for the plaintiff, for 4422 dollars and 89 cents.[(3)]
NOTES
[(1)]  This cause was tried before SMITH, and BRACKENRIDGE, Justices; the CHIEF JUSTICE declining to sit, on account of his relationship to Mr. Willing; and YEATES, Justice, being absent, on account of indisposition. The charge was delivered by Judge SMITH.
[(2)]  In the course of the trial, SMITH, Justice, declared, that the authority of 1 Dall. 265. (laying down the rule, that interest was not payable for goods sold and delivered) had been often overruled.
[(3)]  This sum, it is plain, was not equal to one half of the interest claimed (and the calculation of interest was in a mode favourable to the defendants) but it was exactly equal to the principal sum reported by the auditors. It is presumed, therefore, that the jury thought the interest ought not to be allowed beyond the principal.

